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10                                  UNITED STATES DISTRICT COURT

11                NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION

12

13 KYLE FARRIS,                                           Federal Case No.: 5:17-CV-05418-LHK

14                   Plaintiff,

15          vs.                                           PLAINTIFF’S NOTICE OF VOLUNTARY
                                                          DISMISSAL OF DEFENDANT FORD
16 EQUIFAX INC.; et. al.,                                 MOTOR CREDIT PURSUANT TO
                                                          FEDERAL RULE OF CIVIL
17                   Defendants.                          PROCEDURE 41(A)(1)

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19

20 PLEASE TAKE NOTICE that Plaintiff Kyle Farris, pursuant to Federal Rule of Civil Procedure

21 41(a)(1), hereby voluntarily dismisses Defendant Ford Motor Credit as to all claims in this action,

22 with prejudice.

23          Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
24          41(a) Voluntary Dismissal
25          (1) By the Plaintiff
26                   (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
27                       applicable federal statute, the plaintiff may dismiss an action without a court
28                       order by filing:

                                                        1
                        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
        Case 5:17-cv-05418-LHK Document 28 Filed 01/02/18 Page 2 of 2




 1                        a notice of dismissal before the opposing party serves either an answer or a
                                motion for summary judgment.
 2
            Defendant Ford Motor Credit has neither answered Plaintiff’s Complaint, nor filed a
 3
     motion for summary judgment. Accordingly, the matter may be dismissed against it for all
 4
     purposes and without an Order of the Court.
 5

 6
     Dated: January 2, 2018                              Sagaria Law, P.C.
 7

 8                                            By:          /s/ Elliot W. Gale
                                                                    Elliot W. Gale
 9                                            Attorneys for Plaintiff
10                                            Kyle Farris

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                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
